Case 2:05-cr-20056bSHI\/| Document 46 Filed 09/02/05¢{ Page 1 of 2 Page|D 116

 

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FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATEs OF AMERICA, g§'qg¥ ‘:'S§'WM
V'|£~" i“j`. J i"`\__.\'(

VS. NO. OS~ZOO§€-Ma

WILLIE ANDRA WOODS, ET AL. ,

defendants.

 

ORDER GRANTING MOTION TO UNSEAL INDICTMENT

 

Before the court is the government's September 1, 2005,
motion to unseal the superseding indictment in this matter. For
good cause shown, the motion is granted. The Clerk of Court is

instructed to unseal the superseding indictment in this case.

lt is so ORDERED this '2‘4 day of September, 2005.

JM//“’L-\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I' JUDGE

 

This comment entered on the docket sh i-inéorn 1i nce
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Honorable Samuel Mays
US DISTRICT COURT

